      Case 2:07-cr-20100-JWL       Document 297      Filed 04/24/15   Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF KANSAS

United States of America,

                    Plaintiff,

v.                                                           Case No. 07-20100-05-JWL


Jesus Gabriel Gandara-Escarcega,

                    Defendant.

                                 MEMORANDUM & ORDER

      This matter is before the court on Mr. Gandara-Escarcega’s pro se motion for reduction

of sentence pursuant to 18 U.S.C. § 3582(c)(2) in which Mr. Gandara-Escarcega asks the court

to reduce his sentence based on Amendment 782 to the United States Sentencing Guidelines.

The motion is dismissed for lack of jurisdiction because the court lacks the authority to revise

Mr. Gandara-Escarcega’s sentence based on Amendment 782. Federal courts, in general, lack

jurisdiction to reduce a term of imprisonment once it has been imposed. Freeman v. United

States, ––– U.S. ––––, 131 S. Ct. 2685, 2690 (2011). “A district court does not have inherent

authority to modify a previously imposed sentence; it may do so only pursuant to statutory

authorization.” United States v. Smartt, 129 F.3d 539, 540 (10th Cir. 1997). Under limited

circumstances, modification of a sentence is possible under 18 U.S.C. § 3582(c). That provision

states that “a defendant who has been sentenced to a term of imprisonment based on a

sentencing range that has subsequently been lowered by the Sentencing Commission” may be

eligible for a reduction, “if such a reduction is consistent with applicable policy statements

issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(2). Mr. Gandara-Escarcega’s
      Case 2:07-cr-20100-JWL       Document 297       Filed 04/24/15    Page 2 of 2




sentence in this case was not “based on a sentencing range” but, instead, was based on a

mandatory statutory minimum under 21 U.S.C. § § 841(b)(1)(A). The court, then, has no

jurisdiction to reduce Mr. Gandara-Escarcega's sentence.       Because Mr. Gandara-Escarcega

remains subject to the mandatory minimum sentence of 10 years regardless of the application of

Amendment 782, a reduction under § 3582(c)(2) is not authorized and Amendment 782 affords

no relief to Mr. Gandara-Escarcega. See United States v. Woods, ___ Fed. Appx. ___, 2015 WL

250647, at *1-2 (10th Cir. Jan. 21, 2015) (if a defendant is sentenced pursuant to a statutory

mandatory minimum sentence provision, he is ineligible for a sentence reduction under §

3582(c)(2)).1



      IT IS THEREFORE ORDERED BY THE COURT THAT Mr. Gandara-Escarcega’s

motion to reduce sentence (doc. 296) is dismissed..



      IT IS SO ORDERED.

      Dated this 24th day of April, 2015, at Kansas City, Kansas.



                                                s/ John W. Lungstrum
                                                John W. Lungstrum
                                                United States District Judge

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  Mr. Gandara-Escarcega also requests, as an alternative to Amendment 782, that the court
reduce his sentence through a downward departure. Because a § 3582(c)(2) motion is not the
proper vehicle for a motion for downward departure, the court cannot consider that request.
United States v. Meridyth, 573 Fed. Appx. 791, 794 (10th Cir. 2014). Moreover, to the extent
Mr. Gandara-Escarcega’s request for a downward departure is based on post-sentencing §
3553(a) factors, only the Director of the Bureau of Prisons is authorized to seek such relief. See
18 U.S.C. 3582(c)(1); United States v. Ellis, 407 Fed. Appx. 333, 336 (10th Cir. 2011).
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